22-10943-mew   Doc 161-10   Filed 07/28/22 Entered 07/28/22 15:51:49   Exhibit Ex.
                            I to Levitt Aff. Pg 1 of 9



                                EXHIBIT I
   22-10943-mew                  Doc 161-10         Filed 07/28/22 Entered 07/28/22 15:51:49                       Exhibit Ex.
EXHIBIT  I                                          I to Levitt Aff. Pg 2 of 9
7/19/22, 9:47 AM Gmail - 643707 Voyager Message Follow-Up




                                                        Matthew Levitt <xxxxxxxxxxxxxx@gmail.com>

  643707 Voyager Message Follow-Up
  3 messages

  Vanessa Xxxxxx (Support) <support@investvoyager.com> 23 June 2022 at 14:21 Reply-To: Support
  <support@investvoyager.com>
  To: Matthew Levitt <xxxxxxxxxxxxxx@gmail.com>



      Hi Matthew,

      Thanks for choosing Voyager, it was great to message with you.

      Unfortunately, our team was unable to resolve the inquiry in your message so your Voyager representative opened a
      support ticket (643707) for you. We will continue to look into this issue and get back to you as soon as possible with next
      steps.

      Talk soon,
      Voyager Support Team




      This email is a service from Voyager Support. Delivered by Zendesk


    [65P9ER-QKW3Q]


  Matthew Levitt <xxxxxxxxxxxxxx@gmail.com> 23 June 2022 at 14:43 To: Support <support@investvoyager.com>

    Please wire out
    $676551.66 to the bank account I listed in the chat:
    The Levitt Group
    026009593 Routing
    xxxxxxxxxxxx account number
    Bank of America, 880 East Colorado Blvd, Pasadena, CA 91106

    Thank you,

    Matthew Levitt
    xxx-xxx-xxxx
    [Quoted text hidden]



  Matthew Levitt <xxxxxxxxxxxxxx@gmail.com> 23 June 2022 at 16:08 To: Support <support@investvoyager.com>

    Hello. I am not satisfied with the lack of a clear response about my outgoing wire request earlier today.

    I need to know that my funds will be sent in full tomorrow/immediately as requested. We are talking about my life's
    savings here.

    I understand Voyager may be experiencing liquidity issues, however the company was bailed out by Alameda
    Research recently and Steve Ehrlich said this money was there to protect the clients' assets.

    Please confirm that my funds will be wired to my bank asap.

    According to the attached screenshot from your customer service desk today, there is no restriction on the dollar
    amount of outgoing wires so please process my request immediately and let me know when that has been done.
         22-10943-mew          Doc 161-10         Filed 07/28/22 Entered 07/28/22 15:51:49                     Exhibit Ex.
                                                  I to Levitt Aff. Pg 3 of 9
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7/19/22, 9:47 AM Gmail - 643707 Voyager Message Follow-Up

    Thank you,

    Matthew Levitt
    xxx-xxx-xxxx


    [Quoted text hidden]


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                                                  I to Levitt Aff. Pg 4 of 9




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7/6/22, 6:50 PM Gmail - [Voyager Support] Re: Wire outgoing




                                                      Matthew Levitt <xxxxxxxxxxxxxx@gmail.com>

  [Voyager Support] Re: Wire outgoing
  5 messages

  Support <support@investvoyager.com> 23 June 2022 at 16:08 Reply-To: Support <support@investvoyager.com>
        22-10943-mew
  To: Matthew                Doc 161-10 Filed
              Levitt <matthewjlevitt@gmail.com>         07/28/22 Entered 07/28/22 15:51:49                     Exhibit Ex.
                                                  I to Levitt Aff. Pg 5 of 9

      Your request (643707) has been updated. To add additional comments, reply to this email.




                   Matthew Levitt
                   Jun 23, 2022, 7:08 PM EDT

                   Hello. I am not satisfied with the lack of a clear response about my outgoing wire request earlier
                   today.


                   I need to know that my funds will be sent in full tomorrow/immediately as requested. We are talking
                   about my life's savings here.


                   I understand Voyager may be experiencing liquidity issues, however the company was bailed out by
                   Alameda Research recently and Steve Ehrlich said this money was there to protect the clients'
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                   Please confirm that my funds will be wired to my bank asap.


                   According to the attached screenshot from your customer service desk today, there is no restriction on
                   the dollar amount of outgoing wires so please process my request immediately and let me know when
                   that has been done.


                   Thank you,


                   Matthew Levitt
                   xxx-xxx-xxxx




                   Matthew Levitt
                   Jun 23, 2022, 5:43 PM EDT

                   Please wire out
                   $676551.66 to the bank account I listed in the chat:
                   The Levitt Group
                   026009593 Routing
                   xxxxxxxxxxxx account number
                   Bank of America, 880 East Colorado Blvd, Pasadena, CA 91106
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7/6/22, 6:50 PM Gmail - [Voyager Support] Re: Wire outgoing



                   Thank you,


                   Matthew Levitt
                   xxx-xxx-xxxx
         22-10943-mew            Doc 161-10        Filed 07/28/22 Entered 07/28/22 15:51:49                    Exhibit Ex.
                                                   I to Levitt Aff. Pg 6 of 9



      This email is a service from Voyager Support. Delivered by Zendesk


    [65P9ER-QKW3Q]

         Voyager Support Message_6_23_2022.pdf
         473K


  Matthew Levitt <xxxxxxxxxxxxxx@gmail.com> 24 June 2022 at 14:10 To: Support <support@investvoyager.com>

    Hello,

    I waited all day to see if I would get some customer support.

    Unfortunately I didn't.

    Please cancel my wire out of funds request as it looks like this is being ignored and I am stuck at the 10K daily
    withdrawal limit.

    I was poorly advised by one of your customer service agents yesterday and ultimately I sold my bitcoin and just
    bought back effectively losing well over 1 bitcoin in price/spreads.

    I am hopeful that I will have someone reply to me soon and offer me some sort of explanation and credit.

    Thank you,

    Matthew Levitt
    xxx-xxx-xxxx


    [Quoted text hidden]



  Support <support@investvoyager.com> 24 June 2022 at 14:10 Reply-To: Support <support@investvoyager.com>
  To: Matthew Levitt <xxxxxxxxxxxxxx@gmail.com>



      Your request (643707) has been updated. To add additional comments, reply to this email.




                     Matthew Levitt
                     Jun 24, 2022, 5:10 PM EDT

                     Hello,


                     I waited all day to see if I would get some customer support.


                     Unfortunately I didn't.



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7/6/22, 6:50 PM Gmail - [Voyager Support] Re: Wire outgoing

                     Please cancel my wire out of funds request as it looks like this is being ignored and I am stuck at
                     the 10K daily withdrawal limit.


                     I was poorly advised by one of your customer service agents yesterday and ultimately I sold my
                     bitcoin and just bought back effectively losing well over 1 bitcoin in price/spreads.
        22-10943-mew            Doc 161-10        Filed 07/28/22 Entered 07/28/22 15:51:49 Exhibit Ex.
                                                  I to Levitt
                   I am hopeful that I will have someone      Aff.
                                                          reply to mePg  7 and
                                                                      soon of 9offer me some sort of explanation and
                   credit.


                   Thank you,


                   Matthew Levitt
                   xxx-xxx-xxxx




                   Matthew Levitt
                   Jun 23, 2022, 7:08 PM EDT

                   Hello. I am not satisfied with the lack of a clear response about my outgoing wire request earlier
                   today.


                   I need to know that my funds will be sent in full tomorrow/immediately as requested. We are talking
                   about my life's savings here.


                   I understand Voyager may be experiencing liquidity issues, however the company was bailed out by
                   Alameda Research recently and Steve Ehrlich said this money was there to protect the clients'
                   assets.


                   Please confirm that my funds will be wired to my bank asap.


                   According to the attached screenshot from your customer service desk today, there is no restriction on
                   the dollar amount of outgoing wires so please process my request immediately and let me know when
                   that has been done.


                   Thank you,


                   Matthew Levitt
                   xxx-xxx-xxxx




                   Attachment(s)
                   Voyager Support Message_6_23_2022.pdf




                   Matthew Levitt
                   Jun 23, 2022, 5:43 PM EDT

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7/6/22, 6:50 PM Gmail - [Voyager Support] Re: Wire outgoing

                   Please wire out
                   $676551.66 to the bank account I listed in the chat:
                   The Levitt Group
         22-10943-mew Doc 161-10           Filed 07/28/22 Entered 07/28/22 15:51:49                            Exhibit Ex.
                026009593 Routing          I to Levitt Aff. Pg 8 of 9
                     xxxxxxxxxxxx account number
                     Bank of America, 880 East Colorado Blvd, Pasadena, CA 91106

                     Thank you,


                     Matthew Levitt
                     xxx-xxx-xxxx




    [Quoted text hidden]



  Support <support@investvoyager.com> 28 June 2022 at 08:23 Reply-To: Support <support@investvoyager.com>
  To: Matthew Levitt <xxxxxxxxxxxxxx@gmail.com>



      Your request (643707) has been updated. To add additional comments, reply to this email.




                     Matthew Levitt
                     Jun 28, 2022, 11:23 AM EDT

                     To whom this may concern,


                     I sold my Bitcoin last Thursday in anticipation of wiring out my funds. Voyager then ignoredy request
                     for several business days. I rebought Bitcoin presuming my wire request was denied.


                     This morning on the Voyager app I am being asked to provide my ID which I will do immediately after
                     sending this email.


                     Before I sell my Bitcoin again and move back to cash at a loss, I insist on you verifying that a wire will
                     be sent to the bank account provided for my entire cash balance immediately in the region of
                     $650000. I cannot give an exact amount right now as you know due to the sales spreads and market
                     fluctuations. I have already gone in and out of the bid/ask twice in a few days due to lack of customer
                     service support and clarity.


                     Please confirm in writing here that my request for the entire cash balance will be wired immediately to
                     the bank details provided before I go ahead and sell the Bitcoin again today.
                     [Quoted text hidden]




      [Quoted text hidden]

    [Quoted text hidden]



  Tony (Support) <support@investvoyager.com> 30 June 2022 at 13:22 Reply-To: Support <support@investvoyager.com>
  To: Matthew Levitt <xxxxxxxxxxxxxx@gmail.com>

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7/6/22, 6:50 PM Gmail - [Voyager Support] Re: Wire outgoing



      Your request (643707) has been updated. To add additional comments, reply to this email.
        22-10943-mew              Doc 161-10      Filed 07/28/22 Entered 07/28/22 15:51:49                    Exhibit Ex.
                                                  I to Levitt Aff. Pg 9 of 9
                    Tony (Voyager Support)
                    Jun 30, 2022, 4:22 PM EDT

                    Hi Matthew,


                    I hope you are doing well.


                    Just touching base with you on your limits, currently daily withdrawal limits are set at $10k and are
                    ACH only through our app. Thank you for checking in.

                    The Voyager Team




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